
357 U.S. 575 (1958)
ROSS
v.
SCHNECKLOTH, SUPERINTENDENT, WASHINGTON STATE PENITENTIARY.
No. 513, Misc.
Supreme Court of United States.
Decided June 30, 1958.[*]
ON PETITION FOR WRIT OF CERTIORARI TO THE SUPREME COURT OF WASHINGTON.
Petitioners pro se.
John J. O'Connell, Attorney General of Washington, and Michael R. Alfieri, Assistant Attorney General, for respondent in No. 596, Misc.
PER CURIAM.
The motions for leave to proceed in forma pauperis and the petitions for writs of certiorari are granted. The judgments of the Supreme Court of Washington are vacated and the cases are remanded for consideration in light of Eskridge v. Washington State Prison Board, ante, p. 214.
NOTES
[*]  Together with No. 596, Misc., Woods v. Rhay, Superintendent, Washington State Penitentiary, also on petition for writ of certiorari to the same Court.

